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-- Forwarded Message -
From: RHmore-Heritago-RFP (MYR) <Fillmore-H6rltage-RFP@^fgov^rg>
To: Fillmore-Heritage-RFP (MYR) <Filtmore-Heritage-RFP@sfgoY^Tg>
Sent: Tuesday, April 25, 2017 9:41 AM
Subject: RFP Materials Extension - 4pm Today


Good morning registrants,

The City is extending the deadlinefor already registered
respondents to supplement or supply matenal for the Fillmore
Heritage Center RFP until Tuesday April 25th at 4:00pm, to
be submitted al the location (Isted in the RFR
